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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 USA
              Plaintiffs
                                                   No. 22 CR 528
       v.
                                                   Judge Jeremy C. Daniel
 Xuanyu Harry Pang,
             Defendants


                                       ORDER

Status hearing held. Defendant's appearance was waived for today's status.
Government’s motion to unseal docket is granted. The Clerk is directed to unseal
this case; however, any docket entries that are “SEALED” shall remain under seal.
This includes docket entries 6, 11, 15, 18, 24, 28, 38, 41, 44, 60, and 64. This case is
referred to the Probation Office for preparation of the presentence report.
Presentence report is due 4/22/2025; objections due on or before 5/12/2025; response
due on or before 5/18/2025. Pursuant to Local Criminal Rule 32.1(f), the court directs
disclosure of the Probation Office's recommendation to counsel for the defendant and
the government simultaneously with the disclosure of the PSR. Sentencing is set for
5/27/2025 at 11:00 a.m. in courtroom 1419.




Date: February 27, 2025
                                                      JEREMY C. DANIEL
                                                      United States District Judge
